                 Case 2:13-cv-00193 Document 775-31 Filed on 11/19/14 in TXSD Page 1 of 3
From                            Peters Joe
To                              McCraw Steven MacBride               Cheryl Bodisch    Robert    Cesinger                Katherine   Nolte    Candace

Sent                            712013 62742 PM
Subject                         FW EIC Morning           Report




FYI



From Rodriguez Tony
Sent Monday July 01 2013 547 PM
To Peters Joe
Cc Watkins Paul         Bell   Stephen         Winkley   Salestus   Berkley Johnnie    Silva   Samuel Valenzuela                 Estella     Valdez   Tomas
Hubbard     Barbara Garcia Joseph               Smith Janie Melcher     Lori   Gomez   Enrique    Mastracchio               JoeAnna     Ron    Grahovec
Crawford John

Subject     RE   EIC Morning Report



Two     additional inquiries     but   still   no   issuances




vr



7        JPown    aez

Customer Operations Senior Manager                   South   and West

Driver License   Division

Texas    Department of Public     Safety

tony rodriguezcdpstexasgov
5124245657       0
5127399709       C                                                               2:13-cv-193
                                                                                                    exhibitsticker.com




5124245233       F                                                               09/02/2014

                                                                                DEF1468
                                                                                                                                                          TEX0507618
                        Case 2:13-cv-00193 Document 775-31 Filed on 11/19/14 in TXSD Page 2 of 3
The        Driver     License     Division      is   committed to quality and excellence           in   customer service       Please    share your thoughts

with       us via our online customer service survey at httpwwwsurveyutexasedutxdps



From Rodriguez Tony
Sent Monday July 01 2013 1158 AM
To Peters Joe
Cc Watkins Paul                Bell      Stephen     Winkley         Salestus   Berkley Johnnie    Silva   Samuel Valenzuela      Estella   Valdez   Tomas
Hubbard           Barbara Garcia Joseph                Smith Janie Melcher          Lori   Gomez   Enrique       Mastracchio   JoeAnna    Grahovec   Ron
Crawford John

Subject           EIC   Morning Report



Sorry for the delay                  We continue          to   have   some inquiries but no   issuance      of   an EIC


                                                                01 July     Morning EIC Report

                            Issuance                  0
     1A
                             Inquiry                  0

                            Issuance                  0
     1B
                             Inquiry                  0

                            Issuance                  0
     2A
                             Inquiry                  0

                            Issuance                  0

     2B                                                          1   had ID and Concealed     Handgun       License
                                                      2
                             Inquiry
                                                                 1   had   DL

                            Issuance                  0
       3
                             Inquiry                  0

                            Issuance                  0
       4
                             Inquiry                  0

                            Issuance                  0
       5
                             Inquiry                  0

                            Issuance                  0
     6A
                             Inquiry                  0

                            Issuance                  0
     6B
                             Inquiry                  0

 Total          E ICs Issued Today                    0

 Total          EIC   Inquiries     Today             2

 Total          EICs Issued       to     Date         0

 Total          EIC   Inquiries     to   Date         12




vr



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Customer Operations Senior Manager                              South   and West
Driver License           Division

Texas       Department of Public            Safety

tony rodriguezcD dpstexasgov
5124245657              0
5127399709              C
5124245233              F
The        Driver     License     Division      is   committed to quality and excellence           in   customer service       Please    share your thoughts

with       us   via   our   online     customer service survey at httpwwwsurveyutexasedutxdps



From Rodriguez Tony



                                                                                                                                                          TEX0507619
                      Case 2:13-cv-00193 Document 775-31 Filed on 11/19/14 in TXSD Page 3 of 3
Sent Friday June 28 2013 452 PM
To Peters Joe
Cc Watkins Paul               Bell     Stephen     Winkley   Salestus     Berkley Johnnie        Silva    Samuel Valenzuela            Estella   Valdez       Tomas
Hubbard        Barbara Garcia Joseph                 Smith Janie Melcher       Lori   Gomez       Enrique        Mastracchio      JoeAnna      Grahovec       Ron
Crawford John

Subject         EIC   Final   Report for 28 June

Importance             High


One additional inquiry from this                    mornings report



                                                                                            28 June      Final    EIC Report

                       Issuance                     0
     1A
                         Inquiry                    0

                       Issuance                     0
     113

                         Inquiry                    0

                       Issuance                     0
     2A
                         Inquiry                    0

                       Issuance                     0
     213
                         Inquiry                    1     One Request        Customer already had an ID

                       Issuance                     0
       3
                         Inquiry                    0

                       Issuance                     0
       4
                         Inquiry                    0

                       Issuance                      0

                                                          Herefordone       customer ask about         the   free id      After    visiting   with her we     determined th

                                                          system    the   customer decided       to   go home and       get the   documents she         needed      to   renwe h
       5
                         Inquiry                    2
                                                          Lubbock   County Voter registrar and           staff   came   in on   Friday to discuss the certificates            I   c




                                                          sample Election     Certificate    I   informed    them that the customer have           to   ask   for   the Electio



                       Issuance                     0
     6A
                         Inquiry                    0

                       Issuance                     0
     6B
                         Inquiry                    0

 Total       E ICs Issued Today                     0

 Total       EIC    Inquiries     Today             3

 Total       EICs Issued        to     Date         0

 Total       EIC    Inquiries     to   Date         11




vr



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Customer Operations Senior Manager                       South   and West
Driver License         Division

Texas       Department of Public          Safety

tone rodriguezn7dpstexasgov
5124245657            0
5127399709            C
5124245233            F
The        Driver   License     Division      is   committed to quality and excellence            in   customer service           Please      share your thoughts

with       us via our online customer service survey at httpwwwsurveyutexasedutxdps




                                                                                                                                                                         TEX0507620
